                          Case 4:23-cr-00218            Document 2              Filed on 05/17/23 in TXSD          Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                        Sealed                                     CRIMINAL DOCKET
 Public and unofficial staff access
HOUSTON
      to thisDIVISION
              instrument are                                              SEALED                                 No. 4:23-cr-218
                                                                     United States Courts
    prohibited by court order
USAO Number:                     2022R02443                          Southern District of Texas
                                                                              FILED
Magistrate Number:
                                                                               May 17, 2023
CRIMINAL INDICTMENT                                       Filed Nathan Ochsner, Clerk of Court Judge:                   Eskridge
                                                                                              ATTORNEYS:
UNITED STATES of AMERICA
                                                                                  ALAMDAR S. HAMDANI, USA                       (713) 567-9000
 vs.
                                                                                  Stephanie Bauman, AUSA                         (713) 567-9000

                                                                                                                               Appt'd     Private
 HARDIK JAYANTILAL PATEL                                         (Cts. 1-7)

 aka Erik

 aka Mitesh

 aka Nick, aka Dev

 DHIRENKUMAR VISHNUBHAI PATEL                                    (Cts. 1, 7)


                     Ct. 1: Conspiracy to Commit Mail Fraud [18 U.S.C. § 1349]

 CHARGE: Cts. 2-6: Mail Fraud [18 U.S.C. §§ 1341 and 2]
  (TOTAL)
          Ct. 7: Conspiracy to Commit Money Laundering [18 U.S.C. § 1956(h)]
(COUNTS:)
  (    7    )




PENALTY: Cts. 1-6: Up to 20 years imprisonment; up to $250,000 fine; supervised release term up to 3 years; $100 special assessment
                      Ct. 7: Up to 20 years imprisonment; up to $500,000 fine or twice the amount of the funds laundered; supervised release
                      term up to 3 years; $100 special assessment.




           In Jail                                                                 NAME & ADDRESS
                                                                                   of Surety:
           On Bond

           No Arrest

                                                                 PROCEEDINGS:
